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 7

 8                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                         )       No. CR-S-11-190 MCE
11                                                     )
                                                       )
12
               Plaintiff,                              )       STIPULATION REGARDING
                                                       )       EXCLUDABLE TIME PERIODS
13   v.                                                )       UNDER SPEEDY TRIAL ACT;
                                                       )       ORDER
14   NICHOLAS RAMIREZ, et al.,                         )
                                                       )       Date: July 7, 2016
15                                                     )       Time: 10:00 a.m.
               Defendants.                             )       Judge: Honorable Morrison C. England, Jr.
16                                                     )
                                                       )
17                                                     )
18
               The United States of America through its undersigned counsel, Jason Hitt, Assistant
19
     United States Attorney, together with counsel for defendant Manuel Keith, Jan David Karowsky,
20
     Esq. hereby stipulate to the following:
21

22
          1. By previous order, this matter was set for status conference on May 26, 2016.

23        2. By this stipulation, Manuel Keith now moves to continue the status conference until July

24   7, 2016 and to exclude time between May 26, 2016 and July 7, 2016 under the Local Code T-2

25   and T-4.

26        3.   The parties agree and stipulate and request the Court find the following:
27             a. At the status conference in this case, on November 20, 2015, it was expected by all
28                 parties that Mr. Keith would be entering a guilty plea pursuant to a written plea


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 1      agreement, to which all parties had agreed. However, on November 18, 2015,
 2      counsel was informed that Mr. Keith had been detained in New York City on certain
 3      criminal charges. Counsel has inquired of the attorney representing Mr. Keith on the
 4
        New York charges, and has been informed that he still remains detained, since he has
 5
        not been able to post bail. I am currently in touch with Mr. Keith’s attorney in New
 6
        York City who informs me is still trying to determine the most efficient manner in
 7
        which to proceed in both the New York case and the instant case. That attorney is
 8
        attempting to negotiate with the local prosecutor, but will not have any relevant
 9
        information for a number of weeks. On May 2, 2016, I telephoned the office of
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        United States Attorney for the Southern District of New York and spoke to the
11
        Deputy Chief of the Criminal Division concerning what was required to accomplish a
12
        Rule 20 transfer of the instant action to New York for disposition by way of a guilty
13
        plea to the pending plea agreement. Currently, AUSA Hitt and I are attempting to
14

15
        accomplish a Rule 20 transfer to New York, but will need a number of weeks more to

16      accomplish that transfer. Therefore, Mr. Keith requests a continuance of the status

17      conference to July 7, 2016, by which time it is hoped the Rule 20 transfer will have

18      been accomplished.

19   b. The Government does not object to the continuance.
20   c. Based on the above-stated findings, the ends of justice served by granting the
21      requested continuance outweigh the best interests of the public and the defendant in a
22      speedy trial within the original date prescribed by the Speedy Trial Act.
23
     d. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
24
        Section 3161(h)(7)(A) within which trial must commence, the time period from May
25
        26, 2016 through July 7, 2016 inclusive, is deemed excludable pursuant to 18 United
26
        States Code Section 3161(h)(7)(A) ) and (B)(ii) and (iv), corresponding to Local
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        Code T-2 and T-4 because it results from a continuance granted by the Court at
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        defendant’s request on the basis of the Court’s finding that the ends of justice served

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 1              by taking such action outweigh the best interest of the public and the defendant in a
 2              speedy trial.
 3     4.   Nothing in this stipulation and order shall preclude a finding that other provisions of the
 4
            Speedy Trial Act dictate that additional time periods are excludable from the period within
 5
            which a trial must commence.
 6
     IT IS SO STIPULATED.
 7
     DATED:         May 25, 2016                           PHILLIP TALBERT
 8
                                                           Acting United States Attorney
 9
                                                           /s/ Jason Hitt
10                                                by
                                                           Jason Hitt
11
                                                           Assistant U.S. Attorney
12                                                         by Jan David Karowsky
                                                           w/ Mr. Hitt’s consent
13

14
     DATED:         May 25, 2016                           JAN DAVID KAROWSKY
15                                                         Attorney at Law
                                                           A Professional Corporation
16
                                                           /s/ Jan Karowsky
17
                                                  by
18                                                         JAN DAVID KAROWSKY
                                                           Attorney for Defendant
19                                                         Manuel Keith
20
                                                 ORDER
21

22
            IT IS SO ORDERED.

23   Dated: May 25, 2016

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